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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.10/03)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia
                  ROBEY EUGENE MOSES,

                                          Petitioner,
                                                                                   JUDGMENT IN A CIVIL CASE


                                           V.                                    CASE NUMBER:        CV 120-034

                  RONALD BRAWNER, Warden,

                                           Respondent.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, pursuant to the Order dated October 19, 2020, the Magistrate Judge's Report and

                    Recommendation is ADOPTED as the Court's opinion; therefore, Respondent's Motion to Dismiss

                    is GRANTED, and Petitioner's 28 U.S.C. § 2254 Motion is DISMISSED as untimely. Furthermore,

                    the Court DENIES Petitioner a certificate of appealability and is not entitled to appeal in forma

                    pauperis. Judgment is hereby ENTERED in favor of Respondent. This case stands CLOSED.




            10/19/2020                                                         John E. Triplett, Acting Clerk
           Date                                                                Clerk



                                                                               (By)
                                                                                 y) Deputy Clerk
GAS Rev 10/1/03
